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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


Christine Whalen, et al.,
                                                      Case No. 3:23-cv-00459-vc
                       Plaintiffs,
                                                      REPLY IN SUPPORT OF DEFENDANT
       v.                                             THE KROGER COMPANY’S MOTION
                                                      TO DISMISS
Kroger Co., Albertsons Companies, Inc. and
Cerberus Capital Management, L.P.,                    Date:      July 27, 2023
                                                      Time:      10:00 a.m.
                       Defendants.                    Judge:     Hon. Vince Chhabria
                                                      Courtroom: Courtroom 4 – 17th Floor




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       Plaintiffs’ Opposition to Kroger’s Motion to Dismiss (“Opp.”) is remarkable for its

steadfast refusal to even acknowledge the applicable legal standards, much less attempt to meet

them. Plaintiffs cling to the demonstrably flawed theory that the mere “elimination of a rival is

enough” to satisfy their burden under Section 7 of the Clayton Act. Opp. 11. In doing so, they

refuse to address the unambiguous authority—including a decision this year from this Court,

adverse to Plaintiffs’ counsel themselves—explaining that such a theory “ignores binding Ninth

Circuit precedent.” Kroger’s MTD (“Mot.”) at 1 (quoting Demartini v. Microsoft Corp., No. 22-

CV-08991, 2023 WL 2588173, at *6 (N.D. Cal. Mar. 20, 2023)); see DeHoog v. Anheuser-Busch

InBev SA/NV, 899 F.3d 758, 763 (9th Cir. 2018). Plaintiffs likewise fail to confront their threshold

burden of plausibly alleging a relevant geographic market or their obligation to demonstrate a

likely reduction of competition in that market. And Plaintiffs do not cite a single case to support

their limitless theory of standing, which would transform every supermarket customer in the

country into an antitrust enforcer.

       To the extent Plaintiffs’ Clayton Act theory is intelligible at all, it appears to rest on an

overreading of half-century-old Supreme Court precedent that does not help their cause. See Opp.

1, 3-5. First, those cases recognize the requirement of identifying a well-defined relevant local

market, and Plaintiffs all but concede that they have not identified any such market. Second, the

plaintiff in those cases was the government, which need not satisfy the same Article III standing

requirements as Plaintiffs here. And third, Plaintiffs’ myopic focus on those cases ignores

subsequent decisions by the Ninth Circuit and other courts that have added meaningful judicial

clarity to the broad principles articulated in the 1960s.

       As for the Sherman Act claim, Plaintiffs effectively concede dismissal as to Kroger: they

(1) seek no relief from Kroger; and (2) seek no relief on their own behalf. See ECF No. 72 at 3-4.

       This Court should dismiss the Complaint with prejudice. Plaintiffs have not sought leave

to amend; they have instead doubled-down on their debunked antitrust theory at every turn,

including by filing a motion for injunctive relief that will only waste judicial resources. Plaintiffs’

failure to engage with binding and on-point precedent is fatal to their suit.



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                                               ARGUMENT

I.          THIS COURT SHOULD DISMISS PLAINTIFFS’ CLAYTON ACT CLAIM

            The first 10 pages of Plaintiffs’ Opposition offer no coherent discussion of the relevant

     legal standards. When the Opposition finally reaches its first sub-heading (at page 11), Plaintiffs’

     arguments are exposed as nothing more than a “formulaic recitation” of the elements of their claim,

     which cannot suffice to overcome a motion to dismiss. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

     (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

            A.      Plaintiffs Have Failed to Allege a Relevant Market or Anticompetitive Effects
            Plaintiffs do not contest that their Complaint must be dismissed if they fail to allege a

     “relevant geographic market” or relevant product market. Mot. 5-6. Their arguments to support a

     relevant geographic market, however, are riddled with inconsistencies, and their proposed product

     market ignores their own cited sources.1 Under any understanding of their Opposition, Plaintiffs’

     arguments fail.

            First, Plaintiffs’ insistence on a “national” market, Opp. 7, ignores the basic definition of

     a relevant geographic market in antitrust law: the “area of effective competition” to which

     consumers can “turn for alternative sources of supply” in response to small price changes, Tanaka

     v. Univ. of S. Cal., 252 F.3d 1059, 1063 (9th Cir. 2001) (citation omitted). Plaintiffs do not—and

     cannot—defend the implausible suggestion that “consumers might fly from San Francisco to New

     York City for their weekly grocery shopping,” Mot. 6, and their failure to square their alleged

     national market with the reality that different competitors compete in different parts of the country

     is dispositive, see Tanaka, 252 F.3d at 1063. Indeed, as Plaintiffs’ own authority confirms, the




     1
       Plaintiffs likewise fail to support their proposed product market with well-pleaded facts. They
     assert a “product market composed of the retail sale of food and other grocery products in
     supermarkets,” Opp. 8, but they do not address the plethora of other online and in-person grocery
     options available to the modern consumer, see Mot. 6 n.1. Indeed, in seeking to artificially limit
     the relevant product market to supermarkets that fit Kroger and Albertsons’ precise descriptions,
     see Opp. 8, Plaintiffs ignore their own cited sources, which identify the top three “grocery chains
     in the U.S.” as Walmart, Amazon, and Costco, ECF No. 28-5 (citing Who Are the Top 10 Grocers
     in the United States?, FoodIndustry.Com (June 2022), https://bit.ly/433cHhL).

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“[d]etermination of the relevant market is a necessary predicate to a finding of a violation of the

Clayton Act.” United States v. E. I. du Pont de Nemours & Co., 353 U.S. 586, 593 (1957).

       Plaintiffs fundamentally undermine their proposed “national market” by acknowledging

that “competition for supermarkets is local in nature,” Compl. ¶ 52, and by refusing to confront

recent supermarket merger cases confining the relevant geographic market for such cases to a local

area within a specific city, see Mot. 6 (citing cases). As those cases illustrate, a nationwide market

may be appropriate when assessing competition between nationwide distributors, but it is wholly

inapt for the kind of admittedly “local” competition that Plaintiffs allege in this case. See Brown

Shoe Co. v. United States, 370 U.S. 294, 336-37 (1962); cf. United States v. Von’s Grocery Co.,

384 U.S. 270, 271 (1966) (assessing competition for supermarkets “in the Los Angeles area” in

the 1960s). Plaintiffs’ failure to define a geographic market that “correspond[s] to the commercial

realities of the industry” is fatal to their claims. Brown Shoe Co., 370 U.S. at 336-37 (quotation

marks omitted).

       Second, Plaintiffs’ conclusory assertion that they have established “smaller, local relevant

geographic markets,” Opp. 7, is belied by their refusal to even name such a market. The closest

Plaintiffs come to doing so is their unsupported assertion that “[i]n the Southern California/Los

Angeles area alone Defendants were the number one and two supermarkets in 2017.” Opp. 6. To

start, that allegation appears nowhere in the Complaint. But even if it did, Plaintiffs’ proffered

factual support is a 5-year-old statistic that imprecisely equates the “Los Angeles area” with the

entirety of Southern California. Defining a geographic market based on this statistic would require

the implausible inference that a San Diegan would travel as far north as San Luis Obispo for their

groceries. See Tanaka, 252 F.3d at 1063. In short, even when Plaintiffs reference some smaller

geographic markets, they fail to identify the “limiting principles,” required to plead that any such

“local” market exists. See Netafim Irrigation, Inc. v. Jain Irrigation, Inc., 562 F. Supp. 3d 1073,

1084-85 (E.D. Cal. 2021) (collecting cases).

       Third, even if Plaintiffs had alleged a cognizable city- or state-wide market, the Opposition

confirms that Plaintiffs “fail to allege any facts indicating that the Kroger-Albertsons merger would


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substantially lessen competition in such markets.” Mot. 7. Instead, Plaintiffs identify “national

market share” statistics as their only allegations supporting a substantial lessening of competition.

Opp. 12. Their conclusory assertions of local harm cannot satisfy basic pleading standards. See

DeHoog, 899 F.3d at 763 (citing, inter alia, Iqbal, 556 U.S. at 678).

       Fourth, Plaintiffs seek to avoid the relevant-geographic-market requirement altogether,

arguing that, even “in markets in which the Defendants do not currently directly compete, they are

potential competitors whose presence outside of the geographic market nevertheless impacts the

prices charged inside the market.” Opp. 6 (emphasis added). The Complaint offers no well-pleaded

facts to support this theory, and Plaintiffs’ lone citation to support this proposition—United States

v. Falstaff Brewing Corp., 410 U.S. 526 (1973)—ignores the actual holding and outcome in

Falstaff. There, the Supreme Court simply remanded the case post-merger for the district court to

“appraise[] the economic facts . . . to determine whether in any realistic sense Falstaff could be

said to be a potential competitor on the fringe of the market with likely influence on existing

competition.” Id. at 534-35. On remand, the district court again rejected the Government’s claims,

holding that it “ha[d] failed to establish by a fair preponderance of the evidence that said

acquisition of Narragansett by the defendant would probably lead to a substantial lessening of

competition in the production and sale of beer in said New England market.” United States v.

Falstaff Brewing Corp., 383 F. Supp. 1020, 1028 (D.R.I. 1974). In other words, all Falstaff affirms

is that allegations that a merger will likely lead to a substantial lessening of competition must be

supported by specific facts. Plaintiffs’ speculation about future events unsupported by any

corresponding factual allegations does not suffice.

       Plaintiffs also appear to justify their failure to allege a relevant geographic market with the

novel assertion that “Defendants compete . . . on the supply side of the market.” Opp. 7. That

allegation appears nowhere on the face of the Complaint. See generally Compl. (failing to use the

word “supply”). And in any event, it is nonsensical as to the individual plaintiff-consumers in this




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case, whose claims arise from their demand for consumer goods, and from Defendants’ potential

competition for their supermarket purchases.2

       Finally, Plaintiffs’ map of Albertsons’ and Kroger’s stores in the United States, Opp. 2,

says nothing about the likely competitive effects of this proposed merger. The map does not

identify other competitors in each region, does not explain consumer preferences in a given market,

and, as discussed infra at 7-9, cannot take into account which stores the merging parties will

ultimately divest to other competitors prior to the completion of the merger. Even if a market-share

calculation were a perfect proxy for market power (as Kroger has explained, Mot. 7-8, it is not),

the map does not demonstrate market concentration in any geographic area that could possibly be

construed as a relevant market.

       Plaintiffs ultimately ignore the voluminous precedent rejecting materially identical

arguments that the elimination of a rival is a “per se” violation of the Clayton Act. See Mot. 7-8

(collecting cases). Even the Seventh Circuit decision that Plaintiffs block-quote, Opp. 10, “cast[s]

doubt on the continued vitality” of cases like Von’s, and explains that “the Supreme Court, echoed

by the lower courts, has said repeatedly that the economic concept of competition, rather than any

desire to preserve rivals as such, is the lodestar that shall guide the contemporary application of

the antitrust laws, not excluding the Clayton Act,” Hosp. Corp. of Am. v. FTC, 807 F.2d 1381,

1386 (7th Cir. 1986). “Simply put, there is no support for the notion that, merely by removing one

competitor, any horizontal merger in [an] industry will be anticompetitive and thereby violate

Section 7.” Malaney v. UAL Corp., No. 3:10-cv-02858, 2010 WL 3790296, at *7 n.11 (N.D. Cal.

Sept. 27, 2010), aff’d, 434 F. App’x 620 (9th Cir. 2011).

       B.       Plaintiffs Lack Standing
       Plaintiffs completely fail to address their lack of Article III standing. They do not contest

that the Clayton Act does not supplant their burden of establishing Article III standing. They do

not explain how their vague allegations of future “increased prices” can satisfy the constitutional


2
  Plaintiffs do not defend their conclusory allegations of harm to the “competition for labor,”
Compl. ¶ 62, and therefore concede they have no such claim here, see Mot. 8 n.2.

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requirement that a plaintiff allege an injury that is both “concrete and particularized” and “actual

or imminent, not conjectural or hypothetical.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016).

And they do not dispute that their limitless theory of standing would empower every Kroger or

Albertsons consumer in the country to sue to enjoin the merger based on the merger’s mere

existence, without any demonstration of likely harm and without any competitive overlap in their

local market.

       Plaintiffs claim that Defendants “have attempted to mislead the court” by arguing that

Article III standing requirements apply to Plaintiffs’ claims, Opp. 8, and have focused their

analysis solely on whether the Clayton Act provides a cause of action.3 But they cannot contest

that they must satisfy their burden of alleging Article III standing. The Clayton Act’s cause of

action for plaintiffs who are “threatened” with “loss or damage by a violation of the antitrust laws”

does not supplant Plaintiffs’ failure to plead a constitutional injury. 15 U.S.C. § 26.

       Given their pleading failure, Plaintiffs have no answer to Spokeo, Inc. v. Robins, 578 U.S.

330 (2016), wherein the Supreme Court made clear that “[i]njury in fact is a constitutional

requirement, and [that] it is settled that Congress cannot erase Article III’s standing requirements

by statutorily granting the right to sue to a plaintiff who would not otherwise have standing.” Id.

at 339 (cleaned up). Nor do they contest that “an injury in law is not an injury in fact,” TransUnion

LLC v. Ramirez, 141 S. Ct. 2190, 2205 (2021), meaning that a plaintiff does not “automatically

satisf[y] the injury-in-fact requirement whenever a statute grants a person a statutory right and

purports to authorize that person to sue to vindicate that right,” Spokeo, 578 U.S. at 341. Put

simply, while the Clayton Act allows suits to prevent future harm, that harm must be actual or

imminent to satisfy constitutional requirements. Plaintiffs have not satisfied those requirements

here. See Mot. 8-10.




3
 To the extent that Plaintiffs suggest that there is a distinction between the harms cognizable under
Sections 4 and 16 of the Clayton Act, they are incorrect. See Opp. 8-9. As the Supreme Court has
recognized, “Sections 4 and 16 are . . . best understood as providing complementary remedies for
a single set of injuries.” Cargill, Inc. v. Monfort of Colo., Inc., 479 U.S. 104, 113 (1986).

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       The Opposition confirms that Plaintiffs have not alleged a “concrete,” “particularized,” and

“actual or imminent” injury in fact. Spokeo, 578 U.S. at 339; see also Mot. 9-10. Plaintiffs repeat

their vague allegations that they “may be harmed” by an “elimination of competition of foodstuffs”

because they “may choose to shop” at a Kroger store or an Albertsons store that may raise prices.

Opp. 9 (emphases added). But Plaintiffs allege no facts to support these speculative allegations—

they do not allege which Albertsons stores Kroger will ultimately acquire in the merger or where

those stores will be located. Moreover, Plaintiffs do not even attempt to differentiate their

speculative harms from any other individuals who “may” shop at a Kroger or Albertsons store in

the future. See Mot. 9-10. Plaintiffs’ vague gestures at an injury are neither “particularized” nor

“certainly impending” and thus cannot establish a constitutional injury in fact. Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 401, 409 (2013) (citations and emphasis omitted).

       Not only are Plaintiffs’ alleged injuries unknown and unidentified, they are also

unknowable. Plaintiffs cannot establish a certainly impending injury in fact without knowing

which stores Kroger will own post-merger. See Mot. 10. Yet the ongoing regulatory review process

is almost certain to result in divestitures that will alter both the merger and the competitive

landscape post-merger. See id. Rather than acknowledge the inherently speculative nature of their

alleged harms, Plaintiffs mistakenly equate “divestiture” with store closure, Opp. 3, and fail to

engage entirely with cases dismissing similarly conjectural antitrust claims for failure to allege an

injury in fact, see Mot. 10 (citing Order, Cassan Enters., Inc. v. Avis Budget Grp., Inc., No. 2:10-

cv-01934 (W.D. Wash. Mar. 11, 2011), ECF No. 39, and SureShot Golf Ventures, Inc. v. Topgolf

Int’l, Inc., No. 17-cv-127, 2017 WL 3658948, at *4 (S.D. Tex. Aug. 24, 2017), aff’d in part,

modified in part, 754 F. App’x 235 (5th Cir. 2018)).

       Finally, Plaintiffs’ declaration that they have “co-equal enforcement” authority to the

Federal Trade Commission and Department of Justice, Opp. 4, ignores the fact that Article III

standing requirements do not apply equally to private plaintiffs and government antitrust enforcers.

As Kroger explained, “actual or threatened harm to a person with standing is an essential element

of the private plaintiff’s equity case, but not of the government’s.” Mot. 9 (quoting Herbert


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Hovenkamp & Phillip Areeda, Antitrust Law ¶ 303e3 (4th ed. 2019)). The government enforces

antitrust law “on behalf of the general public” and must establish only that an antitrust violation

has occurred, while a private plaintiff may enforce antitrust laws “only when his personal interest

will be served.” United States v. Borden Co., 347 U.S. 514, 518 (1954). These Plaintiffs represent

only themselves, and they have alleged no personal interest or injury here. See supra at 5-7.

       Nearly every case Plaintiffs cites in support of their alleged injury involved suits brought

by the government, not private parties. See Opp. 9-10 (citing California v. Am. Stores Co., 492

U.S. 1301 (1989); Hosp. Corp. of Am. v. FTC, 807 F.2d 1381 (7th Cir. 1986); Brown Shoe Co. v.

United States, 370 U.S. 294 (1962); United States v. Aluminum Co. of Am., 377 U.S. 271 (1964);

United States v. Von’s Grocery Co., 384 U.S. 270 (1966); United States v. Pabst Brewing Co., 384

U.S. 546 (1966)). And, in the lone private-party suit that Plaintiffs offer, the court found that the

fisherman plaintiffs established a likelihood of success on their motion for a preliminary injunction

when they “support[ed] their argument with market concentration statistics and expert

declarations” explaining, inter alia, the specific “barriers to entry in the West Coast seafood

market.” Boardman v. Pac. Seafood Grp., 822 F.3d 1011, 1022-23 (9th Cir. 2016). Plaintiffs have

pleaded no such facts establishing a plausible claim or an imminent injury here. That pleading

deficiency is fatal to Plaintiffs’ Clayton Act claim.

       C.      Plaintiffs’ Clayton Act Claim Is Not Ripe
       Plaintiffs’ ripeness arguments are similarly flawed. The Opposition responds to the wrong

question when asserting that “plaintiffs’ actions and governmental actions challenging the identical

merger and seeking the identical relief ‘may proceed simultaneously or in disregard of each

other.’” Opp. 4 (quoting Borden Co., 347 U.S. at 519). The question is not whether private and

governmental actions to challenge mergers may ever proceed simultaneously. The question is

whether this private action is premature because future divestitures resulting from the merger

review process will change the scope of the deal. As the Seventh Circuit held in South Austin

Coalition Community Council v. SBC Communications, Inc., 191 F.3d 842 (7th Cir. 1999), private

actions are premature in these circumstances. See Mot. 11.


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             Rather than address the uncertainties posed by future divestitures—or the impossibility of

      any coherent antitrust analysis before those divestitures are known—Plaintiffs argue that South

      Austin Coalition is incompatible with the possibility that private and governmental actions to

      enforce the Clayton Act may proceed “simultaneously.” Opp. 5. Plaintiffs’ reliance on Borden for

      this proposition is misplaced. See Opp. 4. In Borden, the Supreme Court held that the existence of

      a private Clayton Act suit and accompanying decree against the subject defendants did not negate

      “the Government’s right and duty to seek an injunction to protect the public interest.” 347 U.S. at

      519. In reaching this holding, the Court stressed “the difference in the respective interests sought

      to be vindicated by the Government and the private litigant,” id. at 520, and emphasized the

      Government’s role in ensuring the “continuing protection of the public . . . against a recurrence of

      antitrust violations,” id. at 519. Thus, the Borden Court was concerned with ensuring that private

      enforcement actions did not frustrate public enforcement actions, which is precisely the risk posed

      by this case. Nothing in Borden suggests that a private action may proceed where, as here, it “is

      impossible to analyze a potential-competition claim” prior to knowing the final terms of the

      transaction pending regulatory review. S. Austin Coal. Cmty. Council, 191 F.3d at 845; cf. AT & T

      Mobility LLC v. Bernardi, Nos. 11-cv-03992, 11-cv-04412, 2011 WL 5079549, at *12 (N.D. Cal.

      Oct. 26, 2011).

II.          PLAINTIFFS FAIL TO STATE A SHERMAN ACT CLAIM

             Plaintiffs’ Sherman Act claim is moot and should be dismissed. Plaintiffs continue to imply

      that the Dividend may not have been paid, see Pls.’ Opp. to Albertsons’ MTD at 2 (ECF No. 72),

      which is demonstrably false, see Albertsons’ MTD, Ex. C at 3 (ECF No. 42-5) (Albertsons’

      Schedule 14C Information Statement to the Securities and Exchange Commission). Provided with

      the same judicially noticeable evidence proving that the Dividend had been paid, see Kroger’s

      Supp. Br. in Resp. to Jan. 18, 2023, Briefing Order at 1, District of Columbia v. Kroger, No. 22-

      7168 (D.C. Cir. Dec. 20, 2022), the D.C. Circuit dismissed the pending appeal of a materially

      identical claim as moot, see Order, District of Columbia v. Kroger, No. 22-7168 (D.C. Cir. Feb.

      23, 2023). Contrary to Plaintiffs’ suggestion, Opp. 14, Kroger does not rely on “declarations and


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factual material from outside the complaint” to support its Motion. Kroger submitted no exhibits

with its Motion—which relies on judicial opinions and orders—to support dismissal of Plaintiffs’

Sherman Act claim. See Mot. 14 & n.5.

       As to Kroger, Plaintiffs’ request for disgorgement is frivolous. See Mot. 2, 12-13. Plaintiffs

ask for nothing from Kroger, and Kroger has no Dividend payments to disgorge. Plaintiffs

concede, moreover, that they request no relief on their own behalf, instead asking this Court to

order disgorgement either to Albertsons or to the United States Treasury. ECF No. 72 at 3-4.

Because “plaintiff[s] must maintain a personal interest in . . . each form of relief sought,” their

request for relief exclusively on behalf of non-parties is fatal to their claim. See Uzuegbunam v.

Preczewski, 141 S. Ct. 792, 801 (2021) (citation omitted).

       As Kroger explained, see Mot. 13-14, and as Albertsons underscored further in its Motion

to Dismiss (ECF No. 42), Plaintiffs’ Sherman Act claim also fails because it alleges no unlawful

agreement. For instance, while Plaintiffs claim that the Merger Agreement itself “constitutes a

Sherman Act violation,” they fail to identify any merger provision demonstrating an agreement to

pay the Dividend, citing only irrelevant provisions of the contract. Pls.’ Opp. to Albertsons’ MTD

at 2 (ECF No. 72). As four courts have held, there is no such provision in the Agreement. Mot. 12-

14.

                                         CONCLUSION

       For the foregoing reasons, the Complaint should be dismissed in its entirety, with prejudice.




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Dated: May 25, 2023.                       ARNOLD & PORTER KAYE SCHOLER LLP

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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on May 25, 2023, the foregoing document was filed with the

Clerk of the U.S. District Court for the Northern District of California, using the court’s electronic

filing system (ECF), in compliance with Civil L.R. 5-1. The ECF system serves a “Notice of

Electronic Filing” to all parties and counsel who have appeared in this action, who have consented

under Civil L.R. 5-1 to accept that Notice as service of this document.



Dated: May 25, 2023

                                                      /s/ Daniel B. Asimow
                                                      Daniel B. Asimow




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